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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION


 UNITED STATES OF AMERICA,                      CR 24-13-BLG-SPW


                          Plaintiff,
                                               PRELIMINARY ORDER OF
           vs.                                 FORFEITURE


 FRANCISCO JOSE NAVA,

                          Defendant.




      WHEREAS,in the indictment in the above case, the United States sought

forfeiture of any property ofthe above-captioned person, pursuant to 18 U.S.C.

§ 924(d), as property used or intended to be used to facilitate the violations alleged

in the indictment, or as proceeds of said violation;

      And whereas, on March 6, 2024, the defendant entered a plea of guilty to the

Count 1 ofthe indictment, which charged him with prohibited person in possession

of a firearm and ammunition;

      And whereas, the indictment contained a forfeiture allegation that stated that

as a result ofthe offenses charged in the indictment, the defendant shall forfeit the

following property:

      • Smith & Wesson SVD40 YE .40 handgun(SN: HEL3161)
      • Sixteen (16)rounds of.40 caliber ammunition
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